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                                                               December 18, 2024
Via ECF
Hon. Brian M. Cogan
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Kahlon v. County of Nassau et al.
               Case No. 24-CV-2439

Dear Judge Cogan,

         This office represents Mr. Kahlon in connection with the above-referenced matter. We are
writing to respond to the pre-motion letter filed by Celine Boulben through which she contemplates
a motion for summary judgment over the pending claims for malicious prosecution and conspiracy.
As set forth more fully below, Ms. Boulben’s motion would lack merit because it would rely upon
basic disputed questions of fact arising out of the parties’ sexual activity. In brief, the parties
dispute (a) whether Ms. Boulben fabricated her report of non-consent to secure rape charges
against Mr. Kahlon, which were ultimately rebuffed at a criminal trial, and (b) whether she created
this false narrative in concert with members of Nassau County law enforcement. Because the place
to test those disputed factual questions is a trial rather than a motion, we respectfully request that
Ms. Boulben’s application be denied.
       Celine Boulben met Mr. Kahlon via a website called “Seeking Arrangements.” Seeking
Arrangements was designed to match wealthy men with younger women in need of financial
support who, in turn, offer their time and often their sexual attention in return for money. After
being matched through this website, Ms. Boulben exchanged flirtatious emails with Mr. Kahlon,
he paid for her to travel to his home, and they cooked and enjoyed pleasant conversation for hours
before both agreeing to slip away to his bedroom.
        On the way there, Ms. Boulben made clear that she expected to be paid for her company
and Mr. Kahlon assured her that she would. He proceeded to explain to her his sexual preferences,
including showing pictures of women in various forms of sexual bondage, and she affirmed that
she was willing to engage in exploration—setting up a safe word, “Red,” that could be used to
cease the sexual activity at any time.
        The parties engaged in consensual sexual activity during which time she never said “Red”
or “Stop,” and instead during the encounter she drank champagne, expressed enjoyment, and
initiated sexual intercourse. Afterward, she engaged in text message conversations with her other
clients using light-hearted banter.

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        At the conclusion of the sexual activity, Mr. Kahlon lived up to his promise to pay Ms.
Boulben—offering her $420. She objected to the fee, demanding more. And when he paid for a
car to bring her home at her leisure, she got in the car, took off, and then texted him her real name
(she had been using a fake), her home address, and her bank account number so that he could wire
her additional money to cave to her monetary demands. She then texted her friend, who she had
put on emergency-alert in case her target (Mr. Kahlon) had proved to be abusive. But this was not
to report a rape or bad experience. “Just a quick message to say I am home!,” she said instead.
“Let me know about tomorrow, hope to see you.”
        Ms. Boulben has acknowledged that she never intended to go to the police or seek medical
attention, and did so only after having been persuaded by others to do so. And once with medical
professionals, she did not claim that she was raped and instead stated that she would not
characterize her encounter as a sexual assault at all. She continued this trend when she met with
Nassau County Detective Salazar, to whom she never claimed rape, claimed that the boundaries
were left ambiguous, and expressed concern that her sexual encounter with Mr. Kahlon could be
construed as prostitution. Weeks later, after having met with various MeToo groups and lawyers,
she then drastically changed her story in a report to a newly assigned detective—Newbold—to
whom she now complained of having been raped. And in the grand jury, she withheld a wide
variety of material exculpatory facts—including that she had complained about the amount of
money she was paid for her services; that after leaving his home she still texted Mr. Kahlon her
real name, address, and bank information; that she had engaged in light-hearted banter with other
clients during and shortly after the sexual activity with Mr. Kahlon; and that she never told her
“just in case” friend that she had had any problem with Mr. Kahlon whatsoever.
        Based upon her claims and testimony, Mr. Kahlon was indicted and had his photograph
plastered in Newsday above the headline that he was charged with rape and assault. He then fought
the charges for more than two years before he was finally acquitted by a jury of his peers.
        I. A Summary Judgment Motion Over the Malicious Prosecution Claim Would Be
Meritless. “While it is true that citizens who furnish information to the police in good faith will
not generally be held liable for false arrest when the police exercise independent judgment to arrest
a defendant, …. [s]uch an action will lie where the [civilian] ‘lacked probable cause for their belief
in the plaintiff’s culpability.” Weintraub v. Bd. Of Ed., 423 F. Supp.2d 38, 55 (E.D.N.Y. 2006)
(citing DeFilippo v. County of Nassau, 183 A.D.2d 695, 696-97 [2d Dept. 1992]).
        That is to say, the dividing line in malicious prosecution cases against civilian complainants
is between good and bad faith. “Merely giving false information to the authorities does not
constitute initiation of the proceeding” for the sake of malicious prosecution—not, that is, “without
an additional allegation or showing that, at the time the information was provided, the defendant
knew it to be false, yet still gave it to the police or District Attorney.” Williston v. Jack Resnick &
Sons, Inc., 177 A.D.3d 822 (2d Dept. 2019). In those cases of bad faith, “the weight of persuasive
authority indicates that a complainant who knowingly provides a false account of purported
criminal conduct may not shelter in the arresting officer’s resulting probable cause defense to
defeat a false arrest claim.” Pukhovich v. City of New York, 2018 WL 4688943, at *12 (E.D.N.Y.
2018).
       Ms. Boulben’s anticipated motion would be meritless from the start, because this case
presents a classic question of fact about whether the rape-complaint she ultimately reported to the
police was knowingly false. Of note, Ms. Boulben now denies that she instigated the charges, yet
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when “a complainant has knowingly provided false information to the police … [this] has been
found to be sufficient to state that the complainant initiated the proceeding by playing an active
role in the other party’s arrest and prosecution.” Place v. Ciccotelli, 121 A.D.3d 1378, 1379-80
(3d Dept. 2014). See also Coscia v. El Jamal, 156 A.D.3d 861, 863-64 (2d Dept. 2017) (same).
       Illustrative of these mechanics is the analysis from Weintraub—another matter that
involved claims against civilian reporters to police, and a motion by the defense, as here, seeking
summary judgment in the civilian’s favor. That motion was denied for reasons squarely applicable
here: because the “truth of what actually occurred … between [the parties] is disputed,” and if “a
jury were to believe Weintraub’s account, rather than Serrano’s, it would reasonably infer that
Serrano knew Weintraub had not assaulted her, but nonetheless intended to have him arrested by
making false statement to the police.” Weintraub, 423 F. Supp.2d at 56. The same is true here:
because the “truth of what actually occurred … is disputed,” and because if “a jury were to believe
[Mr. Kahlon’s] account rather than [Ms. Boulben’s], it would reasonably infer that [she] knew [he]
had not assaulted her,” this case presents questions for resolution by a jury after trial—not a motion
before one.1
        II. A Summary Judgment Motion Over the Conspiracy Claim Would Be Meritless.
“To support a claim against a private party on a §1983 conspiracy theory, a plaintiff must show:
(1) an agreement between a state actor and a private party; (2) to act in concert to inflict an
unconstitutional injury; and (3) an overt act done in furtherance of that goal causing damages.”
Jae Soog Lee v. Law Office of Kim & Bae PC, 530 Fed. Appx. 9 (2d Cir. 2013). By their very
nature, however, “conspiracies are … secretive operations, and may have to be proven by
circumstantial, rather than direct, evidence.” Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir.
1999).
         Ms. Boulben contemplates a summary judgment argument hinging on the notion that there
is not a “shred of evidence that Boulben had an ‘agreement’ with any state actor, let alone any sort
of action ‘in concert.’” See Boulben Ltr. at 3. But a review of the record proves this allegation is
false: multiple waves of evidence existed to demonstrate Ms. Boulben’s consents throughout the
night; she herself had met with law enforcement and did not claim she had been raped; and then
only after weeks of delay, after meeting with third-parties, and after her handlers made contact
with higher-level members of the Nassau County Police Department, did she change her story to
press allegations of rape. On summary judgment, the Court would have to give Mr. Kahlon the
benefit of every reasonable inference over these facts—to “conclude that [his] account … provides
sufficient circumstantial evidence of coordination to prove a meeting of the minds,” and that the
“section 1983 conspiracy claim [thus] presents questions of fact that must go to a jury.” Valleca v.
Pangburn, 2022 WL 2392543, at *5 (N.D.N.Y. 2022) (quoting Walsh v. City of New York, 2015
WL 3648370, at *3 [S.D.N.Y. 2016]).
        For these reasons, we respectfully request that Ms. Boulben’s application be denied.




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  If a jury finds that Ms. Boulben made knowingly false allegations of non-consent to law enforcement, it will find
that she acted with malice. See, e.g., Fortunato v. City of New York, 63 A.D.3d 880 (2d Dept. 2009) (“malice can be
inferred by lack of probable cause”).

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                                             Sincerely,

                                                   /s/
                                             Kevin Kearon
                                             Alexander Klein




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